[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
Defendant's Motion to Dismiss for Failure of Plaintiff to CT Page 13299 Present a Prima Facie Case is granted. Despite the cautionary language contained in the plaintiff's notice to quit, it is clear from the plaintiff's own testimony that he continued to collect "rent" from the defendant after service of the notice to quit. The plaintiff followed the same pattern of accepting almost daily payments, in arrears, that he had established over a five year period.
"In a month to month tenancy, an acceptance by the landlord of a tender of rent after the service of a notice to quit renders the notice void and creates a new tenancy." O  P Realty v.Santana, 17 Conn. App. 314, 317 (1989). It cannot be held, under the peculiar facts of this case, that the plaintiff's conduct after service of the notice to quit was an unequivocal endorsement of the notice to quit. The tenancy was reinstated by the plaintiff, and his attempt to evict the defendant for nonpayment of rent must fail.
BY THE COURT
Edward J. Leavitt, J.